                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

WACHTER, INC.,                                   )
                                                 )
               Plaintiff,                        )
                                                 )
vs.                                              ) Case No. ______________
                                                 )
BRIAN K. PITTS,                                  )
        404 Cherry Court                         )
        Brentwood, Tennessee 37027               )
                                                 )
 - and -                                         )
                                                 )
MEGAN PITTS,                                     )
        404 Cherry Court                         )
        Brentwood, Tennessee 37027               )
                                                 )
 - and -                                         )
                                                 )
JOSH ESTES,                                      )
        304 Sunside Circle                       )
        Mount Juliet, Tennessee 37122            )
                                                 )
 - and -                                         )
                                                 )
CABLING INNOVATIONS, LLC,                        )
        Registered agent for service of process: )
        Russ Cook and Associates                 )
        Russell T. Cook                          )
        5141 Virginia Way, Suite 220             )
        Brentwood, Tennessee 37027               )
                                                 )
               Defendants.                       )
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       Plaintiff Wachter, Inc., (“Wachter”), for its Complaint against Defendants Brian K. Pitts,

Megan Pitts, Josh Estes, and Cabling Innovations, LLC, (collectively “Defendants”), states and

allege as follows:




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 1 of 16 PageID #: 1
                               Parties, Jurisdiction and Venue

        1.     Wachter is a Kansas corporation registered to do business in the State of

Tennessee.

        2.     Defendant Brian K. Pitts (“Brian Pitts”) is an individual who currently resides at

404 Cherry Court, Brentwood, Tennessee 37027.

        3.     Defendant Megan Pitts a/k/a Megan Ivey (“Megan Pitts”) is an individual who

currently resides at 404 Cherry Court, Brentwood, Tennessee 37027.

        4.     Defendant Josh Estes (“Estes”) is an individual who currently resides at 304

Sunside Circle, Mount Juliet, Tennessee 37122.

        5.     Defendant Cabling Innovations, LLC, (“Cabling Innovations”) is a limited

liability company organized under the laws of the State of Tennessee, that has a principal place

of business at 404 Cherry Court, Brentwood, Tennessee 37027.

        6.     Upon information and belief, Cabling Innovations is owned, at least in part, by

Brian Pitts.

        7.     Brian Pitts is a former employee of Wachter and current employee and/or owner

of Cabling Innovations.

        8.     Josh Estes is a former employee of Wachter and current employee of Cabling

Innovations.

        9.     Megan Pitts is the wife of Brian Pitts and an employee and/or agent of Cabling

Innovations.

        10.    This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§1331 and 28 U.S.C. § 1367.




      Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 2 of 16 PageID #: 2
       11.     This Court has personal jurisdiction over Brian Pitts, Megan Pitts, and Josh Estes

because they are citizens of and domiciled in Tennessee, living within the jurisdiction of the

United States District Court for the Middle District of Tennessee.

       12.     This Court has personal jurisdiction over Cabling Innovations because it is a

limited liability company doing business within the jurisdiction of the United States District

Court for the Middle District of Tennessee.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(1) and

1391(b)(2).

                               Allegations Common to All Counts

       14.     Wachter is a leading national provider of infrastructure services, communications

equipment, and technical support.

       15.     Wachter’s services include on-site wired and wireless network infrastructure,

telephone and structured cabling, design, installation, and electrical services.

       16.     On September 13, 2010, Wachter hired Brian Pitts as an Account Project Manager

in Nashville, Tennessee.

       17.     As an Account Project Manager, Brian Pitts was responsible for managing

multiple client complex projects.

       18.     On December 5, 2011, Wachter promoted Brian Pitts to the position of Local

Business Unit Manager – Nashville.

       19.     As a Local Business Unit Manager – Nashville Brian Pitts was responsible for

leading, coaching, and managing Wachter’s Nashville office, selling and managing projects, and

profit and loss for the business unit.




      Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 3 of 16 PageID #: 3
       20.    On September 20, 2017, Wachter promoted Brian Pitts to the position of Local

Business Account Manager.

       21.    As a Local Business Account Manager Brian Pitts was responsible for seeking

and maintaining new customer opportunities.

       22.    On April 27, 2018, Wachter terminated Brian Pitts for misconduct.

       23.    On July 22, 2013, Wachter hired Estes as a Foreman.

       24.    As a Foreman Estes was responsible for managing projects Wachter performed

for Wachter customers.

       25.    Estes resigned his position at Wachter effective February 2, 2018.

       26.    As part of their employment, Wachter provided Brian Pitts and Estes with

              a.      a Wachter email account, and

              b.      access to Wachter’s computer system which contained certain confidential
                      and trade secret information including, but not limited to, pricing and
                      other financial data; customer lists, customer requirements and customer
                      contacts; and other nonpublic business information about Wachter, its
                      customers and its suppliers.

       27.    As a condition of their employment, Brian Pitts and Estes signed Wachter’s

Employee Handbook which contains a Conflict of Interest policy that provides, in part, as

follows:

       Employees have an obligation to conduct business within guidelines that prohibit
       actual or potential conflicts of interest. . . .

       An actual or potential conflict of interest occurs when an employee is in a position
       to influence a decision that may result in a personal gain for that employee or for
       a relative as a result of Wachter’s business dealings. . . .

       Personal gain may result not only in cases where an employee or relative has a
       significant ownership in a firm with which Wachter does business, but also when
       an employee or relative receives any kickback, bribe, substantial gift, or special
       consideration as a result of any transaction or business dealings involving




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 4 of 16 PageID #: 4
       Wachter.

       28.      The Employee Handbook Brian Pitts and Estes signed for also contains a

Confidentiality policy that provides, in part, as follows:

       No one is permitted to remove or make copies of any Wachter records, reports or
       documents without prior management approval. Disclosure of confidential
       information could lead to termination, as well as other possible legal action.

       29.      During their employment at Wachter, Brian Pitts and Estes accessed the Wachter

email and computer system to review and obtain data for their own personal benefit and/or the

benefit of Cabling Innovations.

       30.      During his employment at Wachter, Brian Pitts forwarded emails and Wachter

confidential information from his Wachter email account to his personal and/or Cabling

Innovations email account without authorization from Wachter.

       31.      During his employment at Wachter, Brian Pitts forwarded emails and Wachter

confidential information from his Wachter email account to Estes and/or Megan Pitts without

authorization from Wachter.

       32.      Brian Pitts was using information he obtained through his employment with

Wachter in order to bid for and/or obtain work on behalf of Cabling Innovations. By way of

example only:

                a.     In April 2018, Brian Pitts utilized Wachter resources and confidential
                       information to submit a bid to a Wachter customer on behalf of Cabling
                       Innovations for work at the MDF project.

                b.     In March 2018, Brian Pitts and Josh Estes utilized Wachter resources and
                       confidential information to obtain and perform work for a Wachter
                       customer on behalf of Cabling Innovation at the E|Spaces Chattanooga
                       project.

                c.     In February 2018, Brian Pitts utilized Wachter resources and confidential
                       information to submit a bid to a Wachter customer on behalf of Cabling




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 5 of 16 PageID #: 5
                      Innovations for work at the Medhost project.

               d.     In November 2017, Brian Pitts and Megan Pitts utilized Wachter resources
                      and confidential information to submit a bid to a Wachter customer on
                      behalf of Cabling Innovations for work at the eMIIDS project.

               e.     In February 2017, Brian Pitts utilized Wachter resources and confidential
                      information to recommend to a Wachter customer that it contract work to
                      Cabling Innovations.

       33.     Based on information provided by Brian Pitts, Cabling Innovations bid for and/or

obtained work from Wachter customers that but for Brian Pitts’s sharing of Wachter’s

confidential information would have been performed by Wachter.

       34.     During his employment at Wachter, Brian Pitts expensed to Wachter certain

expenses that he claimed were for entertainment of Wachter customers when the expenses were

for the benefit of Brian Pitts personally and/or Cabling Innovations.

       35.     Megan Pitts received and used confidential Wachter information from Brian Pitts

for her and/or Cabling Innovations’ benefit.

       36.     Estes received and used confidential Wachter information from Brian Pitts for his

and/or Cabling Innovations’ benefit.

                                          COUNT I
             Violation of the Computer Fraud and Abuse Act (18 U.S.C. § 1030)
                    (Against Brian Pitts, Estes, and Cabling Innovations)

       37.     Wachter realleges and incorporates by reference herein paragraphs 1 through 36.

       38.     The federal Computer Fraud and Abuse Act (“CFAA”) prohibits actions whereby

a person “knowingly and with intent to defraud, accesses a protected computer without

authorization, or exceeds authorized access, and by means of such conduct furthers the intended

fraud and obtains anything of value. . . .” 18 U.S.C. § 1030(a)(4). The CFAA defines a




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 6 of 16 PageID #: 6
“protected computer” as a computer that “is used in interstate or foreign commerce or

communication.” 18 U.S.C. § 1030(e)(2)(B).

       39.       Sections (a)(5)(A) and (a)(5)(B) of the CFAA similarly prohibit actions whereby

a person “knowingly causes the transmission of a program, information, code, or command” or

“intentionally accesses a protected computer without authorization, and as a result of such

conduct, causes damage . . .” 18 U.S.C. §§ (a)(5)(A) and (a)(5)(B).

       40.       The CFAA provides that a person who accesses a computer with authorization,

nevertheless “exceeds authorized access” if he uses his access “to obtain or alter information in

the computer that the accesser is not entitled to so obtain or alter.” 18 U.S.C. § 1030(e)(6).

       41.       A “loss” is defined in the CFAA as “any reasonable cost to any victim, including

the cost of responding to an offense, conducting a damage assessment, and restoring the data,

program, system or information to its condition prior to the offense, and any revenue lost, cost

incurred, or other consequential damages incurred because of interruption of service.” 18 U.S.C.

§ 1030(e)(11).

       42.       The Wachter computer system to which Brian Pitts, Estes, and Cabling

Innovations gained access constitutes a “protected computer” within the meaning of 18 U.S.C.

§ 1030(e) because the computer system is used in interstate or foreign commerce or

communication.

       43.       While Brian Pitts and Estes were still employed by Wachter, but while they were

acting as an agent for themselves and/or Cabling Innovations, they intentionally and improperly

accessed and obtained computer information, computer files, and other confidential and

proprietary information belonging to Wachter from Wachter’s protected computers. Brian Pitts

and Estes shared that information with Cabling Innovations to use to compete with Wachter.




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 7 of 16 PageID #: 7
       44.     Brian Pitts and Estes’s conduct was without authorization or “exceeded

authorized access” in that Brian Pitts and Estes accessed Wachter’s protected computer to benefit

themselves and/or Cabling Innovations. While Brian Pitts and Estes had the right to access

Wachter’s computer while they were employees of Wachter, that right of access did not extend

to actions taken contrary to Wachter’s interests. Further, such access violated Wachter’s policies

which specifically prohibit employees from using Wachter’s computers other than for Wachter

business purposes, prohibit employees from disclosing or using any confidential information

other than on behalf of Wachter, and prohibit employees from performing any work for a

competitor or any work that would constitute a conflict of interest.

       45.     As a result, Brian Pitts, Estes, and Cabling Innovations furthered their intended

fraud upon Wachter and caused Wachter to lose in excess of $5,000.

       46.     Wachter has suffered and will continue to suffer irreparable harm and loss, and

has sustained damages including but not limited to loss of capital, loss of valuable business, loss

of profits and future profits, and loss of goodwill, in an amount to be determined at trial, which

damages are ongoing and continue unabated at the time of the filing of this Complaint.

       47.     Wachter has suffered both a loss in excess of $5,000 and damage to the integrity

of its data and system caused by Brian Pitts, Estes, and Cabling Innovations’ conduct. Such

loss/damage includes but is not limited to the costs, including time and expenses that have been

required of Wachter’s managers, employees and consultants to investigate and determine the

extent of the access Brian Pitts, Estes, and Cabling Innovations obtained; determine what

information was deleted or taken; determine whether Brian Pitts, Estes, and/or Cabling

Innovations altered or downloaded additional confidential information from Wachter’s computer




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 8 of 16 PageID #: 8
network; loss of valuable business; loss of profits and future profits; and loss of goodwill, in an

amount to be determined at trial.

                                             COUNT II
                Violation of the Electronic Communications Protection Act (ECPA)
                                      (Against All Defendants)

          48.     Wachter realleges and incorporates by reference herein paragraphs 1 through 47.

          49.     The Electronic Communications Protection Act (“ECPA”) imposes civil liability

on any person who (1) “intentionally intercepts , endeavors to intercept , or procures any other

person to intercept , any ... electronic communication”; or who (2) either “intentionally discloses,

or endeavors to disclose to any other person,” or “intentionally uses, or endeavors to use the

contents of any ... electronic communication, knowing or having reason to know that the

information was obtained through the interception of a[n] ... electronic communication.”

18 U.S.C. §§ 2511(1) and 2520.

          50.     An “intercept” occurs whenever the contents of any electronic communication are

in transmission and are simultaneously acquired by an electronic, mechanical, or other device; an

“electronic communication” includes “any transfer of signs, signals, writing, images, sounds,

data, or intelligence of any nature transmitted in whole in part by a wire, radio, electromagnetic,

photoelectronic, or photooptical system that affects “interstate commerce.” 18 U.S.C. §§ 2510(4)

& (12).

          51.     By forwarding copies of internal Wachter emails to his own personal email

account, without the senders’ knowledge or authorization, Brian Pitts and/or Cabling Innovations

intentionally intercepted electronic communications in violation of the ECPA.




     Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 9 of 16 PageID #: 9
       52.     By receiving copies of internal Wachter emails which they knew were sent for an

improper purpose, Megan Pitts and Estes intentionally intercepted electronic communications in

violation of the ECPA.

       53.     As a result of these violations, Wachter has suffered damages in excess of the

minimum statutory damages under the ECPA, and has incurred attorneys’ fees in its pursuit to

remedy these damages.

       54.     Further, because Brian Pitts, Megan Pitts, Estes, and/or Cabling Innovations

engaged in the aforementioned conduct intentionally, knowingly, or recklessly, Wachter is

entitled to punitive damages.

                                         COUNT III
                     Violation of the Stored Communications Act (SCA)
                       (Against Brian Pitts and Cabling Innovations)

       55.     Wachter realleges and incorporates by reference herein paragraphs 1 through 54.

       56.     Wachter    maintains    an   email    server    system   that   provides   electronic

communication services and stores and sends electronic mail messages from individual email

“accounts” created for the benefit and use of its employees.

       57.     Wachter’s email server system and the components of the computer network at

Wachter are a “facility” under the Stored Communications Act, 18 U.S.C. § 2701 (“SCA”).

       58.     Brian Pitts was authorized to access and use Wachter’s email system for

legitimate business-related purposes for the benefit of Wachter. Brian Pitts was not authorized to

access or use the email system to access or use the email system to appropriate Wachter’s

confidential information or Wachter’s proprietary materials for his and Cabling Innovations’

own private use or benefit, or for the use and benefit of entities or persons other than Wachter.




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 10 of 16 PageID #: 10
        59.    Brian Pitts exceeded the scope of his authorization to access Wachter’s email

system when he forwarded electronic mail to his own email account for his and Cabling

Innovations’ benefit.

        60.    Brian Pitts knowingly or intentionally forwarded the emails for the purpose of

taking property and/or customers that belonged to Wachter for his and Cabling Innovations’ own

private use or the use of a person or entity other than Wachter.

        61.    Brian Pitts’s actions violate the SCA.

        62.    As a result of Brian Pitts’s violations, Wachter has suffered damages in excess of

the minimum statutory damages under the SCA, and has incurred attorneys’ fees in its pursuit to

remedy these damages.

        63.    Further, because Brian Pitts engaged in the aforementioned conduct intentionally,

knowingly, or recklessly, Wachter is entitled to punitive damages.

                                          COUNT IV
                                   Breach of Fiduciary Duty
                                 (Against Brian Pitts and Estes)

        64.    Wachter realleges and incorporates by reference herein paragraphs 1 through 63.

        65.    By virtue of their prior status as employees of Wachter, Brian Pitts and Estes

operated as fiduciaries with respect to Wachter’s business and owed Wachter the fiduciary duties

of loyalty and care and was required to keep the confidential and business secrets of Wachter

inviolate.

        66.    Brian Pitts and Estes breached their fiduciary duties by engaging in misconduct

that served their own self-interests and the interests of others rather than the interests of Wachter

and acted in a manner inconsistent with the best interests of Wachter – to wit, relying on their

knowledge and information obtained through their employment with Wachter to improperly




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 11 of 16 PageID #: 11
solicit, accept, service, switch, and/or convert Wachter customers to others in order to unfairly

compete against Wachter.

       67.    As a direct and proximate result of Brian Pitts and Estes’s breach of fiduciary

duties, Wachter has incurred damages.

       68.    The actions of Brian Pitts and Estes as alleged in Count IV were willful and

malicious and demonstrate a complete indifference to or a conscious disregard for the rights of

Wachter entitling Wachter to an award of punitive damages.

                                          COUNT V
                                  Breach of Duty of Loyalty
                                (Against Brian Pitts and Estes)

       69.    Wachter realleges and incorporates by reference herein paragraphs 1 through 68.

       70.    Brian Pitts and Estes had and have a duty of loyalty to Wachter by virtue of their

duties to act for the benefit of Wachter in matters connected with their employment relationships

with Wachter and by the special confidence reposed in them by Wachter.

       71.    Brian Pitts and Estes breached their duty of loyalty owed to Wachter by their

conduct in improperly accessing and taking Wachter confidential information as well as

communicating with Wachter’s customers on behalf of themselves and/or others for the purpose

of soliciting their services and otherwise competing with Wachter.

       72.    Brian Pitts and Estes’s breach of the duty of loyalty has caused Wachter to suffer

damages.

       73.    The actions of Brian Pitts and Estes as alleged in Count V were willful and

malicious and demonstrate a complete indifference to or a conscious disregard for the rights of

Wachter entitling Wachter to an award of punitive damages.

                                          COUNT VI




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 12 of 16 PageID #: 12
                        Tortious Interference with Business Relationships
                                    (Against All Defendants)

       74.    Wachter realleges and incorporates by reference herein paragraphs 1 through 73.

       75.    A business relationship and/or contract exists between Wachter and each of its

customers, including, but not limited to, those customers specifically enumerated in Paragraph

32 of this Complaint.

       76.    Brian Pitts, Megan Pitts, Estes, and Cabling Innovations had actual knowledge of

these business relationships between Wachter and its customers by virtue of Brian Pitts and

Estes’s positions as employees for Wachter.

       77.    Wachter has a valid business relationship and/or prospective relationship in

connection with each of its customers with whom Brian Pitts, Megan Pitts, Estes, and Cabling

Innovations has engaged in communications with on behalf of themselves for the purpose of

soliciting their services and otherwise competing improperly with Wachter.

       78.    By using proprietary and confidential information of Wachter, Brian Pitts, Megan

Pitts, Estes, and Cabling Innovations intentionally and improperly interfered with Wachter’s

business relationship with respect to specific customers and/or prospective customers by

contacting them to solicit their services away from Wachter.

       79.    The predominant purpose of Brian Pitts, Megan Pitts, Estes, and Cabling

Innovations in soliciting these specific customers with the improperly obtained information was

to cause harm to Wachter.

       80.    Wachter has suffered damages as a result of Brian Pitts, Megan Pitts, Estes, and

Cabling Innovations’ conduct.




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 13 of 16 PageID #: 13
       81.     The actions of Brian Pitts, Megan Pitts, Estes, and Cabling Innovations as alleged

in Count VI were willful and malicious and demonstrate a complete indifference to or a

conscious disregard for the rights of Wachter entitling Wachter to an award of punitive damages.

                                         COUNT VII
                                      Unjust Enrichment
                                    (Against All Defendants)

       82.     Wachter realleges and incorporates by reference herein paragraphs 1 through 81.

       83.     As a result of their misconduct as alleged in this Complaint, Brian Pitts, Megan

Pitts, Estes, and Cabling Innovations have been unjustly enriched through the continued

possession of Wachter confidential information and the solicitation and servicing of Wachter

customers.

       84.     The retention of these benefits by Brian Pitts, Megan Pitts, Estes, and Cabling

Innovations under the circumstances is inequitable and, therefore, Brian Pitts, Megan Pitts, Estes,

and Cabling Innovations should be required to disgorge their wrongful gains.

       85.     The actions of the Brian Pitts, Megan Pitts, Estes, and Cabling Innovations as

alleged in Count VII were willful and malicious and demonstrate a complete indifference to or a

conscious disregard for the rights of Wachter entitling Wachter to an award of punitive damages.

                                         COUNT VIII
                                          Conversion
                                    (Against All Defendants)

       86.     Wachter realleges and incorporates by reference herein paragraphs 1 through 85.

       87.     Brian Pitts, Megan Pitts, Estes, and Cabling Innovations intentionally exercised

wrongful dominion or control over Wachter property – to wit, the information regarding

Wachter’s customers (to which they only had access to by virtue of Brian Pitts and Estes’s prior

status as employees for Wachter).




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 14 of 16 PageID #: 14
       88.     Brian Pitts, Megan Pitts, Estes, and Cabling Innovations wrongful dominion and

control over Wachter property constituted an unauthorized assumption and exercise of the right

of ownership over property belonging to Wachter.

       89.     As a direct and proximate result of this wrongful dominion or control over

Wachter’s property, Wachter is entitled to compensation for the full value of the property.

       90.     The actions of Brian Pitts, Megan Pitts, Estes, and Cabling Innovations as alleged

in Count VIII were willful and malicious and demonstrate a complete indifference to or a

conscious disregard for the rights of Wachter entitling Wachter to an award of punitive damages.

                                          COUNT IX
                                       Civil Conspiracy
                                    (Against All Defendants)

       91.     Wachter realleges and incorporates by reference herein paragraphs 1 through 90.

       92.     Defendants had a meeting of the minds with the object of accomplishing the

conduct stated in this Complaint.

       93.     Defendants did perform one or more unlawful overt acts in furtherance of

accomplishing their objective, as set forth above.

       94.     Wachter has suffered damages as a result of this conspiracy.

       95.     The actions of the Defendants as alleged in Count IX were willful and malicious

and demonstrate a complete indifference to or a conscious disregard for the rights of Wachter

entitling Wachter to an award of punitive damages.

                                        JURY DEMAND

       Wachter demands a trial by jury on all issues so triable.

       WHEREFORE, Wachter prays for judgment in its favor and against Pitts and Cabling

Innovations for damages as are fair and reasonable, including actual damages, punitive damages,




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 15 of 16 PageID #: 15
equitable relief, pre-judgment and post-judgment interest, costs, and attorneys’ fees; and for such

other and further relief as the Court may deem just and proper.

                                             Respectfully submitted,


                                             /s/Robert W. Ratton, III
                                             Robert W. Ratton, III (TN BPR#24669)
                                             FISHER & PHILLIPS LLP
                                             1715 Aaron Brenner Drive
                                             Suite 417
                                             Memphis TN 38120
                                             Phone: 901-526-0431
                                             Fax: 901-526-8183
                                             rratton@fisherphillips.com



                                             James R. Holland, II (pro hac vice to be filed)
                                             Melody K. Rayl (pro hac vice to be filed)
                                             FISHER & PHILLIPS, LLP
                                             4900 Main Street, Suite 650
                                             Kansas City, Missouri 64112
                                             TEL: (816) 842-8770
                                             FAX: (816) 842-8767

                                             Attorneys for Plaintiff




    Case 3:18-cv-00488 Document 1 Filed 05/24/18 Page 16 of 16 PageID #: 16
